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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 TARA HALL AS PERSONAL
 REPRESENTATIVE OF THE ESTATE
 OF MARCEL THEO HALL,
                                                        Case No.: 1:22-cv-00806 (CKK)
                Plaintiff,

                        v.

 BIZ MARKIE, INC., et al.,

               Defendants.



             DEFENDANTS BIZ MARKIE, INC., AND JENNIFER IZUMI’S
                  COUNTER-STATEMENT OF DISPUTED FACTS

       Pursuant to Local Civil Rule 7(h) and Federal Rule of Civil Procedure 56, and in support

of their Motion for Partial Summary Judgment, Defendants Jennifer Izumi (“Izumi”) and Biz

Markie, Inc. (“BMI”) hereby submit the following counter-statement of facts.



       Defendants’ Statement of Undisputed              Plaintiff’s Counter-Statement of
               Material Facts (“SOF”)                      Disputed Facts (“CSDF”)
 1. Marcel Hall had few people who were           1.
     constants in his life. (Deposition of
     Jennifer Izumi, 12/29/23, Ex. 1, at 53:20-
     22; Deposition of Jennifer Izumi, 4/25/24,
     Ex. 2, at 345:24-346:2)
 2. Two people who had been constants in          2.
     Marcel’s life were his first
     manager/partner, Lamont Wanzer, and
     Izumi. (Deposition of Jennifer Izumi,
     12/29/23, Ex. 1, at 53:20-22; Deposition
     of Jennifer Izumi, 4/25/24, Ex. 2, at
     345:24-346:2, 371:6-372).
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3. Wanzer ran his business affairs, including    3.
    managing Marcel Hall’s entertainment
    career, through a Maryland corporation
    that Wanzer formed, Bizmont
    Entertainment, Inc. (“Bizmont”).
    (Deposition of Jennifer Izumi, 4/23/24,
    Ex. 3 at 90:12-91:9; Declaration of Dayna
    Cooper, Ex. 4, ¶ 3 at Ex. A thereto
    (Maryland.gov Business Entity Search
    results for Bizmont Entertainment, Inc.))
4. Wanzer exclusively handled the business       4.
    affairs associated with “Biz Markie”
    through Bizmont and Hall exclusively
    focused on the artistic side of “Biz
    Markie” work (Deposition of Jennifer
    Izumi, 12/29/23, Ex. 1, at 14:1-17:20;
    Deposition of Jennifer Izumi, 4/25/24, Ex.
    2, at 432:7-20)
5. Wanzer was Bizmont’s sole shareholder.        5.
    (Deposition of Jennifer Izumi, 4/23/24,
    Ex. 3, at 92:7-9; Declaration of Dayna
    Cooper, Ex. 4, ¶ 3 at Ex. A thereto)
6. Wanzer passed away from cancer in 2014.       6.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 344:19-20)

7. Wanzer’s death motivated Marcel Hall to       7.
    want to start getting his own personal and
    business affairs in order. (Deposition of
    Jennifer Izumi, 4/23/24, Ex. 3, at 201:7-
    16; Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 344:6-23, 346:24-347:9)
8. Part of Marcel Hall’s motivation in getting   8.
    his own affairs in order was that he had
    experienced health problems. (Deposition
    of Jennifer Izumi, 4/23/24, Ex. 3,
    at 104:22-105:2)
9. Bizmont ceased operating when Lamont          9.
    Wanzer passed. (Deposition of Jennifer
    Izumi, 4/23/24, Ex. 3, at 89:12-22)
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10. Izumi met Marcel Hall through mutual         10.
    friends and her work with Bizmont.
    (Deposition of Jennifer Izumi, 12/29/23,
    Ex. 1, at 12:21-13:11)
11. At Bizmont, Izumi was responsible for        11. See SOF at ¶ 4; CSDF at ¶¶ 102-11.
    developing, revising, and refining
    contracts, ensuring they were aligned with
    strategic objectives and tailored to meet
    evolving business needs. (Deposition of
    Jennifer Izumi, 4/23/24, Ex. 3, at 77:7-
    78:3; Deposition of Jennifer Izumi,
    12/29/23, Ex. 1, at 14:7-15)
12. By the time of Wanzer’s passing, Marcel      12.
    Hall and Izumi had worked together
    nearly 20 years, and trusted each other.
    (Deposition of Jennifer Izumi, 4/23/24,
    Ex. 3, 95:8-12)
13. Over the years, Izumi and Marcel Hall        13.
    became like family to each other.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 345:22-346:15)

14. Marcel Hall and Izumi agreed to work         14.
    together through an entity they formed
    called Biz Markie, Inc. (“BMI”)
    (Deposition of Jennifer Izumi, 4/23/24,
    Ex. 3, at 94:20-95:22)
15. Izumi owned 51% of BMI, and Marcel           15. No written shareholder agreement was
    Hall owned 49%. (Deposition of Jennifer          ever signed by Hall. Exhibit B at 58:18-
    Izumi, 4/23/24, Ex. 3, at 12:11-12, 231:8-       59:12, 60:7-61:21. No agreement existed
    9; Deposition of Jennifer Izumi, 12/29/23,       prior to 2020 or 2021. Exhibit B at 58:18-
    Ex. 1, at 52:9-12)                               20. Izumi drafted a shareholder
                                                     agreement that was dated May 2021.
                                                     Exhibit B at 58:21-59:12 (referring to
                                                     Exhibit F). Izumi never discussed that
                                                     agreement with Hall. Exhibit B at 61:16-
                                                     18. Hall never signed the agreement;
                                                     Izumi signed the agreement as
                                                     attorney-in- fact while Hall was
                                                     incapacitated. Exhibit B at 56:21-57:21,
                                                     60:7-18; Exhibit F at Hall_JRH_01538;
                                                     CSDF at ¶ 114. Izumi does not even know
                                                     if Hall knew that she signed the agreement
                                                     as his attorney-in- fact. Exhibit B at
                                                     61:19-21.
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16. In 2019, Marcel Hall and Izumi filled out      16.
    paperwork for BMI to obtain a business
    line of credit from BB&T Bank.
    (Declaration of Jennifer Izumi, Ex. 5, at ¶¶
    16-24; Deposition of Jennifer Izumi,
    4/23/24, Ex. 3, at 132:4-16)
17. Marcel Hall and Izumi both signed a            17. Izumi signed the loan application on
    business Line of Credit application and            behalf of Mr. Hall. See Exhibit E,
    Agreement as part of the process for BMI           Exhibit 7 thereto. See also CSDF at
    to obtain a loan from BB&T Bank. .                 ¶¶ 15, 21.
    (Declaration of Jennifer Izumi, Ex. 5, at ¶
    17 and Exhibit B thereto)
18. Marcel Hall submitted a personal financial     18.
    statement that he signed to BB&T as part
    of the process for BMI to obtain a loan
    from BB&T Bank. (Declaration of
    Jennifer Izumi, Ex. 5, at ¶ 17 and Exhibit
    E thereto)
19. Part of the BB&T paperwork included a          19.
    Credit Line Agreement that Marcel Hall
    signed. (Declaration of Jennifer Izumi, Ex.
    5, at ¶¶ 21-22 and Exhibit F thereto,
    Hall_JRH_02553 to _2557)
20. Another document that Marcel Hall              20.
    signed as part of the process for BMI to
    obtain the business line of credit from
    BB&T was a Guaranty Agreement of the
    same that bore his notarized signature.
    (Declaration of Jennifer Izumi, Ex. 5, at ¶
    24 and Exhibit H thereto,
    Hall_JRH_02549 to
    _02552)
21. In support of the loan application to          21. Hall did not send his own tax information
    BB&T, Marcel Hall submitted a personal             to his accountant; Izumi sent that
    tax return and BMI tax return that                 information for him. See Exhibit B at
    confirmed he was a 49% shareholder in              141:21-142:13. Hall did not sign his tax
    BMI. (Deposition of Jennifer Izumi,                returns; Izumi signed them herself or
    4/23/24, Ex. 3, at 131:4-132:16;                   using one of the various alleged “digital
    Declaration of Jennifer Izumi, Ex. 5, at           signatures” of Hall or she signed Hall’s
    ¶¶ 18-19 and Exhibit C and D thereto)              name trying to copy his signature. Exhibit
                                                       B at 144:5-19; Exhibit K at 134:7-22;
                                                       Exhibit E, Exhibit 7 thereto (comparing
                                                       Defendants’ Exhibit 5 at Exhibit B at
                                                       D000387 and Defendants’ Exhibit 5 at
                                                       Exhibit J and Exhibit H (authenticated at
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                                                         Exhibit G at 50:22-51:13) with
                                                         Defendants’ Exhibit 5 at Exhibit F at
                                                         Hall_JRH_02557). It is not clear,
                                                         therefore, that Hall ever even saw the
                                                         subject tax returns.
22. The Credit Line Agreement that Marcel          22.
    Hall signed contained representations and
    warranties that all of the documents Izumi
    and Marcel Hall had submitted to BB&T
    to obtain the line of credit were accurate.
    The text of that portion of the Credit Line
    Agreement states, in relevant part: [Quote
    Omitted].
    (Declaration of Jennifer Izumi, Ex. 5, at ¶
    22 and Exhibit F thereto, at
    Hall_JRH_02555, top of page (emphasis
    added))
23. BB&T Bank ultimately did approve the           23.
    2019 business line of credit application for
    BMI based on the documents Marcel Hall
    and Izumi submitted. (Declaration of
    Jennifer Izumi, Ex. 5, at ¶ 25)
24. BMI did receive proceeds from the              24.
    $50,000 business line of credit application
    for BMI based on the documents Marcel
    Hall and Izumi submitted. (Declaration of
    Jennifer Izumi, Ex. 5, at ¶ 26)
25. Marcel Hall and Izumi agreed that Izumi        25. See also CSDF at ¶ 15.
    should be BMI’s majority owner in part so
    Izumi could execute documents on her
    own if Biz was traveling, got sick, or if he
    passed. (Deposition of Jennifer Izumi,
    4/23/24, Ex. 3, at 231:7-13, 237:10-
    238:17; Deposition of Jennifer Izumi,
    12/29/23, Ex. 1, at 87:21-88:20)
26. Marcel Hall and Izumi agreed that Izumi        26. See CSDF at ¶ 15.
    should be BMI’s majority owner in part to
    compensate Izumi so that she would
    continue working with Marcel Hall and
    BMI, including working to continue Hall’s
    legacy as an entertainer after he passed.
    (Deposition of Jennifer Izumi, 4/23/24,
    Ex. 3, at 94:20-96:11, 109:6-110:19,
    231:7-233:22, 238:1-17; Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1, at 87:22-
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    88:20)
27. Marcel Hall and Jennifer Izumi discussed     27.
    BMI’s expenses and ensured the expenses
    were paid. (Deposition of Jennifer Izumi,
    4/23/24, Ex. 3, at 108:16-110:19)

28. Marcel Hall and Izumi would roughly split    28. No compensation split agreement existed.
    any money that remained after BMI’s              See CSDF at ¶ 121.
    expenses were paid. (Deposition of
    Jennifer Izumi, 4/23/24, Ex. 3, at 110:8-
    111:7)
29. If Marcel Hall ever needed more money,       29.
    he and Izumi would talk and have BMI
    pay Hall. (Deposition of Jennifer Izumi,
    4/23/24, Ex. 3, at 108:7-109:5, 111:4-
    112:16)
30. Nicholas Cusato, CPA, was an accountant      30.
    for both Marcel Hall and BMI.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 538:7-14; Deposition of Nicholas
    Cusato, 1/31/24, Ex. 6, at 27:16-28:22,
    30:10-19)
31. Cusato testified to a conversation with      31.
    Marcel and Izumi in which they
    confirmed the 51/49 ownership of BMI.
    (Deposition of Nicholas Cusato, 1/31/24,
    Ex. 6, at 20:13-21:7)
32. Marcel was paid via both W-2 wages and       32. Izumi took more money out of the
    as a 1099 contractor because he “tended to       business than Hall. Exhibit D, Exhibit 1
    take more money out of the business” than        thereto, at 2-3. Exhibit J (authenticated at
    Izumi did and they did not want to “draw         Exhibit G 96:11-97:2).
    on his capital account” which would
    reduce his ownership percentage.
    (Deposition of Nicholas Cusato, 1/31/24,
    Ex. 6, at 33:10-35:12)
33. Marcel expressed his wish that they make     33. The testimony does not reflect that it was
    Izumi 100% owner of the “Biz Markie”             Hall’s “wish” that Izumi be made 100%
    business and put Marcel on payroll               owner of Biz Markie, Inc. or the “‘Biz
    because Marcel was “more interested in           Markie’ business.” Defendants’ Exhibit 6
    just receiving money and being taken care        at 21:11-15. Rather, the testimony reflects
    of rather than the business.” (Deposition        a wondered aloud suggestion by Hall in a
    of Nicholas Cusato, 1/31/24, Ex. 6, at           discussion concerning liabilities in the
    21:9-19)                                         context of a loan application. Id.
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34. Cusato testified that Marcel “had always      34. This does not mean that Izumi was
    stated in the calls that [they] had been on       entitled to the majority of the
    that the business was for [Izumi] and to          compensation or profits from the business.
                                                      See CSDF ¶ 121.
    make sure she was taken care of.”
    (Deposition of Nicholas Cusato, 1/31/24,
    Ex. 6, at 21:20-22)
35. Marcel and Izumi discussed all key         35. Hall “was a performer, he’s an artist. And
    BMI/“Biz Markie” business finances in          so in the entertainment industry and, you
    “agreed collaboration.” (Deposition of         know … performers are performers, and
    Jennifer Izumi, 4/25/24, Ex. 2, at 406:18-     Biz specifically wasn’t -- his priority
    407:5)                                         wasn’t -- his priority was being a
                                                   performer, it wasn't the day-to-day
                                                   business operations.” See Exhibit B at
                                                   54:6-13. Hall’s focus was being an artist
                                                   and an entertainer. Exhibit B at 125:20-
                                                   126:5. Hall entrusted the “day-to-day
                                                   business” to Izumi. Id. Hall did not
                                                   “execut[e] all the day-to-day
                                                   transactions.” Exhibit B at 88:15-19. Hall
                                                   had health issues and a lot going on in his
                                                   life that prevented his involvement in the
                                                   day-to-day business. Exhibit B at 125:20-
                                                   126:5. See also CSDF at ¶ 84.
36. Marcel and Izumi discussed key BMI/“Biz 36. See CSDF at ¶¶ 15, 21, 35, 84.
    Markie” business decisions, and acted
    after reaching consensus. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at 388:5-
    13)
37. In early 2019, Marcel Hall and Izumi       37. When asked if Balancing Acts ever
    agreed that Izumi would handle all of the      performed services for Hall, Izumi
    business operations relating to “Biz           responded “Occasionally, yes.” Exhibit B
    Markie” and that she would do so through       at 120:6-8. “Occasionally” is inconsistent
    Balancing Acts, Inc. (“BAI”) instead of        with a full transfer of all business
    BMI. (Deposition of Jennifer Izumi,            activities to Balancing Acts. Izumi
    12/29/23, Ex. 1, at 125:18-126:18;             prepared and claimed to have signed a
    Deposition of Jennifer Izumi, 4/25/24, Ex.     stockholder agreement for Biz Markie,
    2, at 475:23-25, 479:13-481:8)                 Inc. in May 2021, after the business was
                                                   allegedly transferred entirely to
                                                   Balancing, Acts, Inc.; there was no reason
                                                   to do so if such a transfer to Balancing
                                                   Acts, Inc. was agreed to by Hall. Exhibit
                                                   B at 58:18-
                                                   59:12, 60:7-61:21.
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38. Marcel hoped that running the business        38. See CSDF at ¶ 37.
    through BAI would let Izumi work to
    continue his legacy free of interference if
    something happened to him. (Deposition
    of Jennifer Izumi, 4/25/24, Ex. 2, at
    475:23-25, 479:13-481:8)
39. Izumi is the sole owner of BAI.               39.
    (Deposition of Jennifer Izumi, 12/29/23,
    Ex. 1, 119:16-120:1; Deposition of
    Nicholas Cusato, 1/31/24, Ex. 6, at 23:14-
    24:7)
40. Marcel directed that royalty payments go      40. Izumi possessed multiple versions of
    from BMI-held accounts to BAI-held                Hall’s digital signature, some of which
    accounts. (Deposition of Jennifer Izumi,          were not Hall’s actual signature. Exhibit B
    12/29/23, Ex. 1, at 125:18-126:18;                at 20:2-22:3; 27:7-13. Izumi applied that
    Declaration of Jennifer Izumi, Ex. 5, at ¶        digital signature to payment direction
    27 and Exhibit J thereto)                         letters. SOF at ¶ 85. Izumi also signed
                                                      documents trying to copy Hall’s signature.
                                                      CSDF at ¶ 21. Izumi did not always
                                                      obtain prior approval from Hall before
                                                      applying his digital signatures to
                                                      documents. See CSDF at ¶ 84. See also
                                                      Exhibit E, Exhibit 7 thereto.
41. Marcel agreed that BAI should be paid for     41. See CSDF at ¶ 40.
    his artistic endeavors. (Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1, at 123
    :21-124:2)

42. The money directed from BMI to BAI            42.
    was used, in part, for Marcel’s personal
    expenses. (Deposition of Nicholas Cusato,
    1/31/24, Ex. 6, at 26:20-27:2; Deposition
    of Jennifer Izumi, 4/25/24, Ex. 2, at
    490:16-23; Deposition of Jennifer Izumi,
    12/29/23, Ex. 1, at 178:11-18)
43. The money directed to BAI was going to        43.
    be used, in part, for BMI’s expenses.
    (Deposition of Jennifer Izumi, 12/29/23,
    Ex. 1, at 122:2-17; Deposition of Jennifer
    Izumi, 4/25/24, Ex. 2, at 490:16-23;
    Deposition of Jennifer Izumi, 12/29/23,
    Ex. 1, at 178:11-18)
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44. Marcel was aware that BMI directed            44. See CSDF at ¶ 40
    money to BAI for more than a year before
    he was hospitalized. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at 479:22-
    480:22; Declaration of Jennifer Izumi, Ex.
    5, at ¶ 27)
45. Tara and Marcel Hall got married in           45. Hall married Tara Hall on October 18,
    October 2018. (Deposition of Jennifer             2018. Exhibit A at ¶ 10.
    Izumi, 4/23/24, Ex. 3, at 199:8-11)

46. Marcel Hall always wanted to keep his         46. Hall and Tara Hall did not have prenuptial
    marriage and finances separate and so did         agreement. Exhibit B at 66:21-22. Hall
    not want Tara Hall to have access to his          and Tara Hall did not have a formal
    personal or business finances. (Deposition        postnuptial agreement. Exhibit B at 67:1-
    of Jennifer Izumi, 12/29/23, Ex. 1, at            2. Hall and Tara Hall never divorced;
    66:4- 18)                                         Mrs. Hall was his wife when he passed
                                                      away. Exhibit B at 64:8-10.
47. After marrying Tara Hall, Marcel Hall         47.
    filed a married, but separate, tax return.
    (Deposition of Jennifer Izumi, 12/29/23,
    Ex. 1, at 66:4-18; Deposition of Jennifer
    Izumi, 4/23/24, Ex. 3, at 208:18-210:9)
48. Izumi remained in control of Marcel’s         48.
    advanced medical directive and power of
    attorney after Marcel and Tara Hall
    married. (Deposition of Jennifer Izumi,
    12/29/23, Ex. 1, at 64:11-65:8)
49. Marcel was contemplating divorce four         49. See CSDF at ¶ 46.
    months after his marriage to Tara Hall.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2 at 477:16-478:18; Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1 at 193:8-
    194:18)
50. Marcel Hall lost trust in Tara Hall when      50. See CSDF at ¶ 46.
    he found out that she had tried to access
    his business, financial, and life insurance
    information. (Deposition of Jennifer
    Izumi, 12/29/23, Ex. 1, at 66:4-18, 194:6-
    196:13; Deposition of Ralph Horton, Ex.
    8, 13:9-14:18)
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51. In November 2018, Tara Hall attempted to      51.
    gain access to Marcel Hall’s business
    agreements with Izumi. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at 423:7-
    424:25; Declaration of Jennifer Izumi, Ex.
    5, ¶ 25 at Exhibit H thereto (November 5,
    2018 email from Tara Hall to Jennifer
    Izumi))
52. In November 2018, Tara Hall attempted         52.
    to access some of Marcel Hall’s financial
    information. (Deposition of Jennifer
    Izumi, 12/29/23, Ex. 1, at 194:3-11;
    Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 423:7- 424:25; Declaration of
    Jennifer Izumi, Ex. 5, ¶ 28 at Exhibit H
    thereto (November 5,
    2018 email from Tara Hall to Jennifer
    Izumi))
53. In November 2018, Tara Hall attempted to      53.
    access information about Marcel Hall’s
    life insurance policies through his life
    insurance broker. (Deposition of Jennifer
    Izumi, 12/29/23. Ex. 1, at 194:3-11;
    Deposition of Jennifer Izumi, 4/25/24, Ex.
    2, at 423:7-424:25; Declaration of Jennifer
    Izumi, Ex. 5, ¶ 28 at Exhibit H thereto
    (November 5, 2018 email from Tara Hall
    to Jennifer Izumi))
54. Tara Hall sent emails to Izumi, without       54.
    copying Marcel, attempting to change
    how Marcel got paid. (Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1, at
    194:3-11;
    Deposition of Jennifer Izumi, 4/25/24, Ex.
    2, at 423:7-424:25; Declaration of Jennifer
    Izumi, Ex. 5, ¶ 28 at Exhibit H thereto
    (November 5, 2018 email from Tara Hall
    to Jennifer Izumi)
55. After Marcel Hall found out about Tara        55.
    Hall’s efforts to access his business and
    financial information, he directed Izumi to
    keep everything the same, and not to
    provide that information to Tara.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 424:4-22)
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56. Marcel Hall told Tara Hall he was going        56.
    to get a life insurance policy making her a
    beneficiary. (Deposition of Jennifer Izumi,
    4/25/24, Ex. 2, at 449:5-450:3)
57. Marcel Hall told Tara Hall he was going        57.
    to get a life insurance policy making her a
    beneficiary to mollify ongoing disputes
    the two had been having. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at 449:5-
    450:3, 454:23-455:9)
58. Marcel Hall ultimately did not get a           58.
    policy naming Tara Hall as a life
    insurance beneficiary. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at
    450:18-20)
59. Marcel Hall did not complete the medical       59.
    examination necessary to get that policy.
    (Deposition of Jennifer Izumi, 4/25/24,
    Ex. 2, at 450:7-20)
60. Tara Hall knew that Marcel Hall did not        60.
    complete the exam because she was home
    with him at the time. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at 450:9-
    14)
61. As of November 16, 2018, Tara Hall             61.
    knew that Izumi was a life insurance
    beneficiary on policies Marcel Hall had
    originally purchased. (Deposition of
    Jennifer Izumi, 4/25/24, Ex. 2, at
    445:11-21; Declaration of Jennifer Izumi,
    Ex. 5, ¶ 29 and Ex. I thereto (November
    16, 2018 text from Tara Hall to Jennifer
    Izumi))
62. On November 16, 2018, Tara Hall sent a         62.
    text to Jennifer Izumi that stated: “I think
    this is very inappropriate for you to still
    be on Biz [i.e., Marcel Hall] life
    insurance.” (Declaration of Jennifer
    Izumi, Ex. 5, ¶ 29 and Ex. I thereto
    (November 16, 2018 text
    from Tara Hall to Jennifer Izumi))
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63. Marcel Hall died intestate, after which       63.
    Tara Hall was appointed the
    administrator of his estate. (Notice of
    Appointment of Tara Hall as Personal
    Representative, Ex. 10)
64. After being appointed administrator, Tara     64.
    Hall filed a complaint in the probate
    proceeding against Izumi. (Tara Hall
    Probate Complaint, Ex. 11)

65. Tara Hall’s probate complaint included        65.
    allegations about the proceeds of the life
    insurance policies that were also
    referenced in Tara’s initial complaint in
    this action. (Tara Hall Probate Complaint,
    Ex. 11, ¶ 4(d); Amended Complaint (Doc.
    17) ¶¶ 34, 113)
66. The probate court dismissed Tara Hall’s       66.
    probate court complaint against Izumi
    sua sponte for lack of jurisdiction. (Order
    Dismissing Probate Complaint, Ex. 12)
67. Tara Hall then filed a complaint and       67.
    request for an injunction in Prince
    George’s County, Maryland, seeking to
    prevent Northwestern Mutual Life
    Insurance Company from distributing the
    proceeds of “Policy A,” alleging
    improprieties on Izumi’s part. (Tara Hall
    Complaint filed in Prince George’s
    County, Maryland, Ex. 13, at e.g., ¶¶ 5,
    12,
    13)
68. The Prince George’s County, Maryland       68.
    Court denied Tara Hall’s request for an
    injunction sua sponte two days after the
    complaint was filed. (Declaration of
    Dayna Cooper, Ex. 4, ¶ 12 at Ex. D
    thereto (Maryland Court Docket Printout
    at 9/23/2021))
69. Plaintiff has put forward only one measure 69. The Estate has identified five categories
    of damages, premised on expert opinions.       of damages, each with its own measure:
    (Declaration of Dayna Cooper, Ex. 4, at ¶      (1) at least             of reported
    7)                                             income to Hall that Hall never received;
                                                   (2) at least             of income to
                                                   which Hall was entitled because Izumi
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                                                    compensated herself in excess of the
                                                    industry standard fifteen percent; (3) at
                                                    least              , but possibly as much as
                                                                   of income that was due to
                                                    Hall but he never received because Izumi
                                                    directed it to Balancing Acts, Inc.;
                                                    (4) personal expenses charged by Izumi to
                                                    Biz Markie, Inc., but not repaid by Izumi,




                                                                                     ; and
                                                    (5) statutory damages under the Anti-
                                                    Cybersquatting Consumer Protection Act
                                                    of up to $100,000. Exhibit D, Exhibit 1
                                                    thereto, at 2-3; Exhibit E, Exhibit 3
                                                    thereto, at 3-4 (Answers to Interrogatory
                                                    Nos. 1 and 2); Exhibit J (authenticated at
                                                    Exhibit G at 96:11-97:2)
70.    Plaintiff’s professed music-industry 70.
    expert, Lita Rosario-Richardson, Esq.
    opines that that the industry norm for
    compensation       agreements     between
    managers and artists is approximately
    10%-20% of the income earned by the
    artist being managed, so Izumi should not
    have received more than this. (Declaration
    of Dayna Cooper, Ex. 4, at ¶ 5 at Ex. B)
71. Plaintiff’s expert Christopher Williams,   71. Mr. Williams has calculated the
    a CPA, calculated the approximate              approximate dollar amount of the Estate’s
    dollar amount of Plaintiff’s alleged           damages for three of the five categories of
    damages.                                       damages identified by the Estate. See
    (Declaration of Dayna Cooper, Esq., Ex. 4      CSDF at ¶ 69.
    at ¶ 6, Ex. C)
72. Williams’ damages estimate assumes that 72. Only the second category of damages, of
    Rosario-Richardson’s            10%-20%        those identified in CSDF at ¶ 69, depends
    compensation opinion is correct, and uses      entirely on Ms. Rosario-Richardson’s
    the midpoint figure of 15% in his              opinion. Exhibit C, Exhibit 1 thereto, at
    calculations. (Declaration of Dayna            2-3. The first category was determined
    Cooper, Ex. 4 at ¶ 6, Ex. C)                   solely by comparing Hall’s income as
                                                   reported on his tax returns, to the income
                                                   he actually received, which does not
                                                   involve Ms. Rosario-Richardson’s
                                                   opinion. Id. at 2. The third category
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                                                     contains money that Izumi diverted to her
                                                     solely-owned company, Balancing Acts,
                                                     Inc. which depends partly on Ms. Rosario-
                                                     Richardson’s opinion, but partly not. Id. at
                                                     3. Izumi’s personal expenses charged to
                                                     Biz Markie, Inc., but not repaid do not
                                                     depend on Ms. Rosario-Richardson’s
                                                     opinion, nor do statutory damages. See
                                                     CSDF at ¶ 69.
73. Williams’ damages estimate calculates        73. See CSDF at ¶ 72.
    the difference in what Izumi would have
    received at 15% and what she actually
    received to come up with damages of
    around $819,940. (Declaration of Dayna
    Cooper, Ex. 4, at ¶ 8)
74. BMI owned (and owns) the “Biz Markie”    74. Hall owned the “Biz Markie” mark by
    trademark. (Declaration of Jennifer Izumi,   being the first to use the mark in
    Ex. 5, ¶ 6; Deposition of Ronald Shaw,       commerce. See CSDF at ¶¶ 79, 89-96, 98.
    Ex. 7, 15:2-17:3; Deposition of Ralph        Hall never abandoned the mark. Id. Hall
    Horton, Ex. 8, 9:12-10:11)                   never signed a written agreement granting
                                                 BMI the right to use his trademarks.
                                                 Exhibit B at 87:6-9. Hall never signed a
                                                 written agreement expressly granting BMI
                                                 the right to obtain registered trademarks
                                                 related to Hall. Exhibit B at 89:6-12.
                                                 Furthermore, Defendants’ citations do not
                                                 reflect ownership. Izumi’s declaration
                                                 reflects usage only, which can be
                                                 accomplished through a license or other
                                                 permitted use; it does not signify
                                                 ownership. Additionally, the testimony of
                                                 Mr. Shaw and Mr. Horton do not reflect
                                                 any ownership of the trademark or any
                                                 personal knowledge thereof.
75. Plaintiff, in her capacity as the 75.
   administrator of Marcel’s estate, filed a
   sworn pleading with the Probate Court
   explaining that BMI “is the corporate
   entity through which the Deceased’s
   [Marcel’s] professional activities were
   performed, including the collection of
   music royalties.” (Tara Hall Probate
   Complaint, Ex. 11, ¶ 4(a))
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76. Marcel and Izumi discussed use of the 76. See CSDF at ¶¶ 15, 21, 35, 37, 84.
    “Biz Markie” mark. (Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1, at 86:1-
    12)
77. BMI used the “Biz Markie” mark starting 77. See CSDF at ¶¶ 74, 79, 89-96, 98.
    in 2015 when it began offering and
    providing services under the mark.
    (Declaration of Jennifer Izumi, Ex. 5, at ¶
    5)
78. BMI first licensed the “Biz Markie” 78. There is no written agreement under
    trademark in 2015. (Declaration of           which Hall gave Biz Markie, Inc.
    Jennifer Izumi, Ex. 5, at ¶ 5)               any rights to the “Biz Markie”
                                                 mark. See CSDF at ¶¶ 74, 79,
                                                 89-96, 98.
79. Tara Hall has disclosed no evidence that 79. Plaintiff has disclosed the following
    Marcel Hall personally owned the Biz         documents and information to
    Markie mark at any time. (Declaration of     demonstrate Hall’s ownership of the
                                                 Biz Markie mark: (a) Defendant
    Dayna Cooper, Ex. 4, at ¶ 9)
                                                 BMI’s trademark application
                                                 materials and all supporting
                                                 documents; (b) Mrs. Hall’s
                                                 trademark application materials and
                                                 all supporting documents; (c) Hall’s
                                                 countless appearances and
                                                 performances under the name “Biz
                                                 Markie;” and (d) various income
                                                 reports from third parties. Exhibit
                                                 E, Exhibit 4 thereto at 5-6 (Request
                                                 for Production No. 7 and Response
                                                 thereto); Exhibit E, Exhibit 3
                                                 thereto, at 9-10 (Answers to
                                                 Interrogatory Nos. 10 and 12);
                                                 Exhibit E, Exhibit 4 thereto, at 4-6
                                                 (Response to Request for
                                                 Production No. 7); Exhibit E,
                                                 Exhibit 5 thereto, at 4-5 (Responses
                                                 to Requests for Production Nos. 12
                                                 and 14); Exhibit E, Exhibit 2
                                                 thereto; Exhibit A at ¶¶ 3-9, and
                                                 Exhibits 1, 2, and 3 thereto. Further,
                                                 Defendants produced, and are in
                                                 possession of a collection of various
                                                 recordings released by Hall under
                                                 the name “Biz Markie.” Exhibit E,
                                                 Exhibit 6 thereto.
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80. Tara Hall has disclosed no evidence that 80. Hall performed for decades in
    Marcel Hall, personally, used the “Biz       music, television and film under the
    Markie trademark within the 10 years         name “Biz Markie” until he passed
                                                 away, all which were credited to
    preceding the commencement of this
                                                 him as such. Exhibit A at ¶¶ 3-9,
    lawsuit. (Declaration of Dayna Cooper,       and Exhibits 1, 2, and 3 thereto. See
    Ex. 4, at ¶ 11)                              also CSDF at ¶¶ 74, 79, 89-
                                                 96, 98.
81. BMI owned the website “bizmarkie.com” 81.
    starting in 2016. (Declaration of Jennifer
    Izumi, Ex. 5, at ¶ 4)

82. Since early 2015, BMI advertised, 82.
    offered, and provided services in
    connection with the “Biz Markie”
    trademark         on      the       website
    “bizmarkie.com.” (Declaration of Jennifer
    Izumi, Ex. 5, ¶ 3; Tara Hall Second
    Amended Complaint (Doc. 61) ¶¶ 5 and
    22 (“On or about February, 4, 2015,
    Izumi, or Izumi and Hall, created
    Defendant Biz Markie, Inc. to receive
    income from Hall’s entertainment goods
    and services.”))
83. Prior to his hospitalization and death, 83. Hall never signed a written agreement
    Marcel and Izumi discussed BMI and             granting BMI the right to use his name,
    BAI’s use of his image, voice, likeness,       image, and likeness. Exhibit B at 87:17-
    and other intellectual property and BMI’s      88:10; 89:15-21. See also CSDF at ¶¶ 79,
    ownership. (Deposition of Jennifer Izumi,      89-96, 98. Further, the cited support does
    4/25/24, Ex. 2, at 432:7-433:11)               not reflect ownership of Hall’s name,
                                                   image, and likeness.
84. Prior to signing anything digitally on 84. Izumi applied Hall’s signature to
    Marcel’s behalf, Izumi would receive           documents and signed his name without
    Marcel’s approval. (Deposition of Jennifer     Hall’s approval on various occasions,
    Izumi, 12/29/23, Ex. 1, at 25:7-10)            including while Hall was incapacitated.
                                                   See also CSDF at ¶¶ 15, 21, 35, 37,
                                                   40; Exhibit E, Exhibit 7 thereto.
85. Marcel’s digital signature appeared on the 85.
    letter directing payment of royalties from
    Rhino Entertainment Company, a division
    of Warner Music, to BAI. (Deposition of
    Jennifer Izumi, 12/29/23, Ex. 1, at 125:1-
    22)
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86. Marcel and Izumi reached an agreement 86. See CSDF at ¶¶ 74, 79, 89-96, 98.
    regarding licensing or use of the Biz       Further, Izumi’s legal necessity to do so
    Markie mark prior to any such licensing or  presents a legal conclusion, rather than a
    use, even though Izumi did not legally      fact subject to dispute.
    need      Marcel     Hall’s      agreement.
    (Declaration of Jennifer Izumi, Ex. 5, ¶¶
    10-11)
87. The Maryland Statutory Power of 87.
    Attorney Executed in Favor of Izumi
    provides that all signatures made
    pursuant to the power of attorney must
    include “ATTORNEY-IN-FACT” or “as
    Agent” in the signature. (See Maryland
    Statutory Power of Attorney Executed in
    Favor of Izumi, Ex. 9, at 15, ¶ 4)
88. Marcel Hall was aware of merchandise 88.
    being offered on “bizmarkie.com.” (Tara
    Hall Second Amended Complaint (Doc.
    61) ¶ 49; Declaration of Jennifer Izumi,
    Ex. 5, ¶ 30)

                    Additional Facts Asserted as Undisputed by the Estate
             Defendants’ Response                 Plaintiff’s Claimed Undisputed Facts
                    (“SOF”)                                          (“CSDF”)
89. Dispute Hall’s use as a “stage name”       89. Marcel Hall is recognized by his stage
constitutes trademark/service mark use. Cooper     name “Biz Markie” and for decades has
Decl. ¶5, Ex. 15 (USPTO refusal - stage name       been, and continues to be, internationally
not TM/SM use); Cooper Decl. ¶4, Ex. 14            known as an iconic rapper, actor, musical
(probate inventory summaries, Hall admission       artist, DJ, and record producer. ECF No.
as to no intangible assets).                       62 at ¶ 2.

Undisputed as to Hall’s use as a “stage name.”

90. Disputed - Hall was only a performer/artist 90. Hall first used the “Biz Markie”
on the album. Hall did not “release” the album.     name and mark in 1986 and his first
The album was released by Cold Chillin’             album, released under the name
Music Publishing, Marley Marl International.        “Biz Markie” was released in 1988.
Cooper Decl. ¶5, Ex. 15 (USPTO refusal -            Exhibit A at ¶¶ 3-5.
stage name not TM/SM use); Cooper Decl.
¶6, Ex. 16 (copyright registration and
controlling party information)
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91. Dispute Hall’s use as a “stage name”          91. Hall is a legendary musical entertainer
constitutes trademark/service mark use. Cooper        known by his stage name “Biz Markie.”
Decl. ¶5, Ex. 15 (USPTO refusal - stage name          His career in all facets of the
                                                      entertainment industry spanned decades
not TM/SM use); Cooper Decl. ¶4, Ex. 14
                                                      and included his RIAA Platinum selling
(probate inventory summaries, Hall admission          1989 single “Just a Friend,” which
as to no intangible assets).                          became a top 40 hit in several countries.
Disputed to the extent that release (or reference     In 2008, “Just a Friend” was included on
to “his”) means that Hall controlled the quality      VH1’s list of the 100 greatest hip hop
of the album as the albums and compilations           songs of all time. Hall was sometimes
were released and controlled by third parties.        referred to as the “Clown Prince of Hip
                                                      Hop.” ECF No. 62 at ¶ 14.
Cooper Decl. ¶6, Ex. 16 (copyright registration
and controlling party information), Undisputed
that the album released featured Hall as a
performer.

92. Undisputed that Hall was a performer and     92. In his first decade recording music, Hall
participated in the recording of Office Space        recorded the first track on the Office
sound-track (1999), “rapped” on Will Smith’s         Space sound-track (1999), rapped on Will
                                                     Smith’s 1999 album “Willennium,” and in
1999 album “Willennium,” or featured on the
                                                     1997, a sample of one of his recordings
Rolling Stones’ album.                               was used in the Rolling Stones’ album
                                                     “Bridges to Babylon.” His acclaim and
Disputed that Hall’s feature constitutes             popularity led to his signing with Rhino
trademark/service mark use or evidence of            Records on September 6, 2009,
ownership. Cooper Decl. ¶5, Ex. 15 (USPTO            distributed worldwide by Warner Music
refusal - stage name not TM/SM use); Cooper          Group, which continues to account for
                                                     and pay his music royalties. He released
Decl. ¶4, Ex. 14 (probate inventory summaries,
                                                     five (5) studio albums (one of which was
Hall admission as to no intangible assets).          certified gold by the RIAA) and seven (7)
Disputed to the extent that “release” implies        compilation albums. ECF No. 62 at ¶ 15.
more than his feature as an artist. The albums
and compilations were released and controlled
by third parties; not Hall. Cooper Decl. ¶6, Ex.
16 (copyright registration and controlling party
information)

93. Disputed to the extent that “guest       93. In television and film, Hall made guest
appearances” are construed as                    appearances on In Living Color and in the
trademark/service mark use. Cooper Decl. ¶5,     superhero film Meteor Man in the 1990’s,
                                                 and in 2002, he appeared in Men in Black
Ex. 15 (USPTO refusal - stage name not
                                                 II, with Will Smith and Tommy Lee
TM/SM use); Cooper Decl. ¶4, Ex. 14              Jones, playing an alien parody of himself.
(probate inventory summaries, Hall admission     In the 2000’s, Hall was a competitor on
as to no intangible assets).                     the first season of VH1’s television show
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                                                    Celebrity Fit Club, which challenged
                                                    celebrities to lose weight by a
                                                    combination of diet and exercise. Hall
                                                    was a cast member of Nick Cannon’s
                                                    MTV series Wild ‘n Out seasons 1 and 3,
                                                    and performed a regular segment on the
                                                    Nick Jr. television show Yo Gabba Gabba.
                                                    He began opening in 2008 for Chris Rock
                                                    on the comedian’s “No Apologies” live
                                                    tour. ECF No. 62 at ¶ 16.
   94. Disputed that “credited as” constitutes  94. In the 2010’s, Hall acted in and hosted
   trademark/service mark use. Cooper Decl. ¶5,     television shows on multiple networks. He
   Ex. 15 (USPTO refusal - stage name not           provided commentary throughout VH1’s
                                                    100 Greatest Artists of All Time, appeared
   TM/SM use); Cooper Decl. ¶4, Ex. 14
                                                    on Late Night with Jimmy Fallon, and
   (probate inventory summaries, Hall admission     toured with the Yo Gabba Gabba! live
   as to no intangible assets).                     show. Hall guest starred on SpongeBob
                                                    SquarePants and voiced a character on
   Undisputed as to the remainder.                  Cartoon Network’s Adventure Time. In
                                                    2014, Hall appeared in the Syfy network
                                                    film Sharknado 2: The Second One, in
                                                    which he was credited as “Biz Markie.”
                                                    In 2016, he appeared on the Fox TV series
                                                    Empire as himself, where he performed,
                                                    and in the season 3 finale of the ABC
                                                    series Black-ish in 2017. Hall was the DJ
                                                    on the VH1 game show Hip Hop Squares
                                                    between 2017 and 2019 (a spin-off of the
                                                    game show Hollywood Squares) and
                                                    hosted a radio show on SiriusXM’s “Rock
                                                    the Bells” Radio station every weekday.
                                                    ECF No. 62 at ¶ 17.1
   95. Undisputed                               95. Hall’s work and acclaim continued into
                                                    the 2020’s and that on January 14, 2021,
                                                    Biz Markie was mentioned in the premiere
                                                    episode of AppleTV’s Emmy award
                                                    winning Ted Lasso, and one of his songs
                                                    was played over the end credits. ECF No.
                                                    62 at ¶ 18.
   96. Undisputed                               96. Hall earned a living through public
                                                    appearances and performances for
                                                    decades under his stage name “Biz
                                                    Markie.” ECF No. 62 at ¶ 21.



1 See also https://www.imdb.com/title/tt3062074/fullcredits/?ref_=tt_cl_sm (last visited on Nov. 4, 2024).
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97. Undisputed                                  97. Defendant BMI, operated by Izumi,
                                                    applied to register the “Biz Markie” mark
                                                    in May 2020. Exhibit E, Exhibit 1 thereto.


98. Undisputed                                  98. In support of BMI’s application to register
                                                    the “Biz Markie” mark, Izumi signed, as
                                                    attorney-in-fact, for Hall, a consent form
                                                    stating: “I, Marcel Theo Hall (also known
                                                    by the state name and nickname of BIZ
                                                    MARKIE), consent to the use and
                                                    registration of my name, BIZ MARKIE,
                                                    as a trademark and/or service mark with
                                                    the USPTO.” Exhibit E, Exhibit 2 thereto
99. Undisputed                                  99. Biz Markie, Inc. banked through BB&T.
                                                    Exhibit B at 46:11-19



100. Disputed as to mischaracterization of       100. Hall was not in possession of a list of
testimony. Testimony infers that Mrs. Hall (not     his own assets; Izumi had to prepare that
Mr. Hall) was not in possession of Mr. Hall’s       list. Exhibit B at 157:1-12.
assets and therefore a list was provided to her.
Exhibit B at 157:1-12
101. Undisputed.                                 101. Izumi has no formal business
                                                    education or training. She holds an
                                                    associate’s degree in general studies.
                                                    Exhibit B at 9:11-15. Prior to working for
                                                    Bizmont Entertainment, she worked at
                                                    Verizon doing customer service. Exhibit
                                                    B at 11:7-18. At Bizmont, Izumi did
                                                    “administrative work,” such as “updating,
                                                    creating, and editing contracts,
                                                    organizational administrative items.”
                                                    Exhibit B at 13:2-14:12.
102. Undisputed.                                 102. Izumi claims to have been a “co-
                                                    manager” at Bizmont Entertainment, with
                                                    Mr. Wanzer, but Izumi does not know
                                                    what the compensation arrangement was
                                                    at Bizmont Entertainment. Exhibit B at
                                                    14:16-18, 17:21-18:3.
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103. Undisputed.                                 103. Hall placed his trust in Izumi as his
                                                    business manager. Exhibit B at 15:4-6;



104. Disputed as to characterization that Izumi 104. While working for Hall at Biz Markie,
“worked for” Hall. Izumi was Hall’s manager        Inc. as Hall’s “business manager” she
and business partner Ex. 5, Exs. B, F, G (signed   “help[ed] with his business and personal
as general partner)                                affairs.” Exhibit B at 35:21-36:2.
105. Disputed as to mischaracterization. To the 105. Izumi’s “help” at Biz Markie, Inc.
extent it suggests those enumerated items are      included ““[n]egotiat[ing] and execut[ing]
the extent of her involvement. Ex. A Hall Decl.    contracts, help[ing] with personal requests
¶ 6 (Hall did not pay attention to contracts,      from getting [Hall’s] roof repaired,
business and personal documents); Ex. 8,           request, quotes, paying business and/or
Horton Depl. 12:15-17(Izumi ran everything);       personal expenses, getting his personal
Ex. 5, Exs B, F, G (signed as general partner)     affairs as well in order from advanced
                                                   directive to power of attorney, car
                                                   maintenance.” Exhibit B at 35:21-36:10.
106. Undisputed.                                106. Izumi does not know why Biz Markie,
                                                   Inc. did not have any directors. Exhibit B
                                                   at 51:4-52:4


107. Izumi distinguishes the two as “business    107. Izumi cannot distinguish between a
partner” = handling business affairs; and           business manager and a business partner.
“manager” = handling business and personal          Exhibit B at 31:7-33:18.
affairs. Exhibit B at 33:4-7
108. Dispute - Izumi kept track via the          108. Izumi did nothing to track Biz Markie,
itemized bank records. Exhibit B at 38:7-14.        Inc.’s money; she “kept track” of it by
She employed a CPA. Cusato Dep. generally,          whatever came into BMI’s bank account.
Ex. 6)                                              Exhibit B at 38:7-14

109. Undisputed.                                 109. Izumi did not do BMI’s accounting –
                                                    Exhibit B at 39:13.



110. Disputed as to mischaracterization of       110. Izumi does not know what “financial
testimony. Izumi references profit and loss         summaries” are. Exhibit B at 40:7-10.
statements. Counsel then seeks to “claify” his
earlier inquiry. Exhibit B at 40:14-16, 17-22
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111. Undisputed                                   111. Izumi does not know what an
                                                     assignment of trademark rights is.
                                                     Exhibit B at 86:4-6.

112. Undisputed                                   112. Izumi does not know corporate law.
                                                     Exhibit B at 99:15.



113. Undisputed                                   113. Izumi believes that, as a result of
                                                     Hall’s Death, his shares of Biz Markie,
                                                     Inc. automatically moved to her, as the
                                                     other shareholder. Exhibit B at 9:11-9:20;
                                                     173:9-21
114. For purposes of this motion, undisputed.     114. In April 2020, Hall was hospitalized
                                                     due to complications from diabetes.
                                                     Exhibit A at ¶ 11; Exhibit B at 58:5-8.

115. For purposes of this motion, undisputed.     115. Hall became incapacitated in June
                                                     2020. Exhibit B at 56:21-57:21; Exhibit
                                                     A at ¶ 12-14.

116. Undisputed.                                  116. Hall passed away on July 16, 2021.
                                                     Exhibit A at ¶ 15.



117. Undisputed.                                  117. “Artist loan out companies are usually
                                                     limited liability companies or corporations
                                                     that artists form to collect their royalties
                                                     and enter into agreements for their
                                                     personal services.” Exhibit C, Exhibit 1
                                                     thereto, at 4-5.
118. Disputed to the extent that facts implies    118. Biz Markie, Inc. was Hall’s loan out
thats the extent of BMI’s business.                  company from 2015 until the time of his
                                                     death. Exhibit C, Exhibit 1 thereto, at 4-5.
SOF ¶¶78, 88; CSDF ¶ 78

119. Dispute to the extent that the statement     119. Through her operation of Biz Markie,
provides that manager was the sole extent of         Inc. Izumi acted as Hall’s manager.
her duties. Izumi was Mr. Hall’s business            Exhibit C, Exhibit 1 thereto, at 2-4; CSDF
partner. Ex. 5, Exs. B, F, G (signed as general      at ¶¶ 102-103.
partner).
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120. Undisputed for purposes of this motion.     120. The industry standard compensation
                                                    for an artist’s manager is ten to twenty
                                                    percent (10-20%). Exhibit C, Exhibit 1
                                                    thereto, at 5-6.

121. Disputed as mischaracterization of          121. No compensation agreement existed
testimony - Compensation agreement existed          that dictated what percentage of the
via oral agreement, conduct, and written            income generated by Hall’s services,
                                                    received by Biz Markie, Inc., was owed
documents signed by Marcel and Izumi.
                                                    to Izumi. When asked whether she
Deposition of Jennifer Izumi, 4/23/24, Ex. 3, at    ensured that Hall received 49 percent of
131:4-132:16; Declaration of Jennifer Izumi,        profits, Izumi testified:
Ex. 5; Exhibit B at 101:18-102:12;                      Biz and I weren’t -- Biz and I
102:22-103:5; 103:20-104:7;104:10-17.                   never discussed a percentage. It
                                                        wasn’t – that’s not how -- so that's
 Deposition of Nicholas Cusato, 1/31/24, Ex. 6,         not how we functioned in our
                                                        company. It wasn't how you just
at 33:10-35:12; 20:13-21:7; 21:9-19);
                                                        broke it down, where you said
                                                        after all of the expenses were paid,
                                                        he got 49 percent. Sometimes we
                                                        didn’t even have enough money in
                                                        our account to pay bills or we may
                                                        have only had $500 or $5,000 left
                                                        in our account, so it was really just
                                                        us trying to get to a place where
                                                        we were comfortable, and when
                                                        we could pay the -- pay Biz, or pay
                                                        Hall, pay myself, company
                                                        overhead, expenses, that's how we
                                                        would function in our company.
                                                    Exhibit B at 101:18-102:12. When asked
                                                    whether her claimed ownership share had
                                                    anything to do with, or any relationship to,
                                                    the amount of income that she and Hall
                                                    received, Izumi testified:
                                                        I think it depended on where we
                                                        were in that month or that time of
                                                        finances and what we had….
                                                        Again, it was -- that wasn’t our
                                                        focus and how we functioned in
                                                        our company…. We were --
                                                        literally, we weren’t making a lot
                                                        of money. We were literally trying
                                                        to make sure that all of our bills
                                                        were paid.
                                                    Exhibit B at 102:22-103:5; 103:20-104:7.
                                                    When asked whether Izumi did anything
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                                                      to ensure that Hall received even received
                                                      49% percent of Biz Markie, Inc.’s income,
                                                      Izumi testified:
                                                          That’s not how we functioned.
                                                          That’s what he and I discussed.
                                                          The way that we functioned was to
                                                          make sure that all of our – our –
                                                          our expenses were taken care of.
                                                      Exhibit B at 104:10-17.
  122. Undisputed                                  122. Biz Markie, Inc.’s tax returns from
                                                      2018 reflect greater compensation to
                                                      Hall than Izumi, in a 62% to 38% split.
                                                      Exhibit I at Cusato_00108 (authenticated
                                                      at Exhibit G at 58:3-14).
  123. Disputed as to characterization.            123. Izumi explained the intended
  Compensation agreement existed via oral             significance of their ownership shares as
  agreement, conduct, and written documents           having no relation to compensation at all:
  signed by Marcel and Izumi. Deposition of               The significance was that in the
  Jennifer Izumi, 4/23/24, Ex. 3, at 131:4-132:16;        event that -- the significance was
  Declaration of Jennifer Izumi, Ex. 5; Exhibit B         that I would have majority
  at 101:18-102:12; 102:22-103:5;                         ownership. I had been with Biz for,
  103:20-104:7;104:10-17.                                 again, over two decades, and so
                                                          knew how to help run the business
   Deposition of Nicholas Cusato, 1/31/24, Ex. 6,         while he was alive in the event that
  at 33:10-35:12; 20:13-21:7; 21:9-19);                   something happened to him or in his
                                                          passing, but Biz wanted me to have
                                                          control of those things.
                                                      Exhibit B at 102:13-21.
  124. Undisputed                                  124. Since Hall’s passing, various royalties
                                                      and other payments arising from Hall’s
                                                      artistic endeavors continue to be paid to
                                                      Balancing Acts, Inc. and/or Biz Markie,
                                                      Inc. or Jennifer Izumi. Exhibit A at ¶ 16;
                                                      SOF at ¶¶ 37, 39, 85; CSDF at ¶¶ 37, 40.

Dated: December 23, 2024                       Respectfully submitted,

                                               /s/ Dayna C. Cooper
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